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Retain/Release Scenario                                             Onboard Count - PP6 FY25

                  Division/Office              Sum of    Sum of                       Division/Office              Sum of
                                              Number to Number to                                                 Number on
                                               Retain    Release                                                     PD
  CFPB CENTRALIZED SERVICES                        0         5        CFPB CENTRALIZED SERVICES                          5
    CFPB CENTRALIZED SERVICES-HUMAN CAPITAL        0         5          CFPB CENTRALIZED SERVICES-HUMAN CAPITAL          5
  CONSUMER RESPONSE EDUCATION DIV                 20       129        CONSUMER RESPONSE EDUCATION DIV                  149
    CONSUMER RESPONSE                             16       112          CONSUMER RESPONSE                              128
    CONSUMER RESPONSE EDUCATION DIV                2         6          CONSUMER RESPONSE EDUCATION DIV                  8
    FINANCIAL EDUCATION                            2        11          FINANCIAL EDUCATION                             13
  DIRECTOR                                         5        81        DIRECTOR                                          86
    Legislative Affairs                            1         2          Legislative Affairs                              3
    Off of Policy Planning & Strategy              0        16          Off of Policy Planning & Strategy               16
    Office of Civil Rights                         1         8          Office of Civil Rights                           9
    Office of Fair Lending and Equal Opp           1        13          Office of Fair Lending and Equal Opp            14
    Office of Minority and Women Incl              1        13          Office of Minority and Women Incl               14
    OFFICE OF THE DIRECTOR                         1        29          OFFICE OF THE DIRECTOR                          30
  DIVISION OF ENFORCEMENT                         50       198        DIVISION OF ENFORCEMENT                          248
    DIVISION OF ENFORCEMENT                       50       198          DIVISION OF ENFORCEMENT                        248
  DIVISION OF SUPERVISION                         50       437        DIVISION OF SUPERVISION                          487
    DIVISION OF SUPERVISION                        0         2          DIVISION OF SUPERVISION                          2
    OFFICE OF SUPV POLICY AND OPS                  1       108          OFFICE OF SUPV POLICY AND OPS                  109
    SUPERVISION EXAMINATIONS                       1         0          SUPERVISION EXAMINATIONS                         1
    SUPERVISION MIDWEST REGION                     0        89          SUPERVISION MIDWEST REGION                      89
    SUPERVISION NORTHEAST REGION                   0        95          SUPERVISION NORTHEAST REGION                    95
    SUPERVISION SOUTHEAST REGION                  48        61          SUPERVISION SOUTHEAST REGION                   109
    SUPERVISION WEST REGION                        0        82          SUPERVISION WEST REGION                         82
  EXTERNAL AFFAIRS DIVISION                        2        39        EXTERNAL AFFAIRS DIVISION                         41
    COMMUNICATIONS                                 0        11          COMMUNICATIONS                                  11
    EXTERNAL AFFAIRS DIVISION                      0        13          EXTERNAL AFFAIRS DIVISION                       13
    INTERGOVERNMENTAL AFFAIRS                      0         5          INTERGOVERNMENTAL AFFAIRS                        5
    PRIVATE SECTOR ENGAGEMENT                      1         4          PRIVATE SECTOR ENGAGEMENT                        5
    PUBLIC ENGAGEMENT                              1         6          PUBLIC ENGAGEMENT                                7
  LEGAL DIVISION                                  27        60        LEGAL DIVISION                                    87
    GENERAL LAW AND ETHICS                         4        25          GENERAL LAW AND ETHICS                          29
    LAW AND POLICY                                 8        22          LAW AND POLICY                                  30
    LEGAL DIVISION                                 0        12          LEGAL DIVISION                                  12
    LITIGATION                                    14         0          LITIGATION                                      14
    OVERSIGHT                                      1         1          OVERSIGHT                                        2
  OPERATIONS DIVISION                             30       293        OPERATIONS DIVISION                              323
    ADMINISTRATIVE OPERATIONS                      5        28          ADMINISTRATIVE OPERATIONS                       33
    CHIEF DATA OFFICER                             0        10          CHIEF DATA OFFICER                              10
    FINANCE AND PROCUREMENT                        5        48          FINANCE AND PROCUREMENT                         53
    HUMAN CAPITAL                                  5        56          HUMAN CAPITAL                                   61
    OPERATIONS DIVISION                            1         8          OPERATIONS DIVISION                              9
    TECHNOLOGY AND INNOVATION                     14       143          TECHNOLOGY AND INNOVATION                      157
  OTHER PROGRAMS                                   1        33        OTHER PROGRAMS                                    34
    DIRECTOR'S FINANCIAL ANALYSTS                  0        29          DIRECTOR'S FINANCIAL ANALYSTS                   29
    OMBUDSMAN                                      1         4          OMBUDSMAN                                        5
  RESEARCH MONITORING AND REGULATIONS DIV         22       208        RESEARCH MONITORING AND REGULATIONS DIV          230
    Competition and Innovation                     0         9          Competition and Innovation                       9
    CONSUMER POPULATIONS                           3        42          CONSUMER POPULATIONS                            45
    MARKETS                                        4        36          MARKETS                                         40
    REGULATIONS                                   10        56          REGULATIONS                                     66
    RESEARCH                                       3        55          RESEARCH                                        58
    RESEARCH MONITORING AND REGULATIONS DIV        2        10          RESEARCH MONITORING AND REGULATIONS DIV         12
Grand Total                                      207      1483      Grand Total                                       1690




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